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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 22-61689-CIV-SINGHAL

 SECURITIES AND EXCHANGE
 COMMISSION,

                              Plaintiff,

 v.

 TIMOTHY S. HART, et al.,

                              Defendants.
                                               /

              FINAL JUDGMENT AS TO DEFENDANT TIMOTHY S. HART

        The Securities and Exchange Commission having filed a Complaint and Defendant

 Timothy S. Hart having entered a general appearance; consented to the Court’s

 jurisdiction over Defendant and the subject matter of this action; consented to entry of this

 Final Judgment without admitting or denying the allegations of the Complaint (except as

 to jurisdiction and except as otherwise provided herein in paragraph V); waived findings

 of fact and conclusions of law; and waived any right to appeal from this Final Judgment:

                     I.     PERMANENT INJUNCTIVE RELIEF

           SECTION 15(a)(1) OF THE SECURITIES EXCHANGE ACT OF 1934

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

 permanently restrained and enjoined from violating, directly or indirectly, Section 15(a)(1)

 of the Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78o(a)(1)], by

 making use of any means or instrumentality of interstate commerce or of the mails and

 engaging in the business of effecting transactions in securities for the accounts of others, or

 inducing or effecting the purchase and sale of securities, while not registered with the
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 Commission in accordance with the provisions of Section 15(b) of the Exchange Act, or while

 not associated with a broker-dealer that was so registered.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

 Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following

 who receive actual notice of this Final Judgment by personal service or otherwise: (a)

 Defendant’s officers, agents, servants, employees, and attorneys; and (b) other persons

 in active concert or participation with Defendant or with anyone described in (a).

                               II.    CIVIL PENALTY

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant shall

 pay a civil penalty in the amount of $50,000.00 to the Securities and Exchange

 Commission pursuant to Section 21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d)(3)].

 Defendant shall make this payment within 30 days after entry of this Final Judgment.

        Defendant may transmit payment electronically to the Commission, which will

 provide detailed ACH transfer/Fedwire instructions upon request. Payment may also be

 made directly from a bank account via Pay.gov through the SEC website at

 http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check,

 bank cashier’s check, or United States postal money order payable to the Securities and

 Exchange Commission, which shall be delivered or mailed to

        Enterprise Services Center
        Accounts Receivable Branch
        6500 South MacArthur Boulevard
        Oklahoma City, OK 73169

 and shall be accompanied by a letter identifying the case title, civil action number, and

 name of this Court; Timothy S. Hart as a defendant in this action; and specifying that

 payment is made pursuant to this Final Judgment.


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        Defendant shall simultaneously transmit photocopies of evidence of payment and

 case identifying information to the Commission’s counsel in this action. By making this

 payment, Defendant relinquishes all legal and equitable right, title, and interest in such

 funds and no part of the funds shall be returned to Defendant. The Commission shall

 send the funds paid pursuant to this Final Judgment to the United States Treasury.

        The Commission may enforce the Court’s judgment for penalties by the use of all

 collection procedures authorized by law, including the Federal Debt Collection

 Procedures Act, 28 U.S.C. § 3001 et seq., and moving for civil contempt for the violation

 of any Court orders issued in this action. Defendant shall pay post judgment interest on

 any amounts due after 30 days of the entry of this Final Judgment pursuant to 28 U.S.C.

 § 1961.

                                  III.   PENNY STOCK BAR

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant is

 barred for a period of five years from participating in an offering of penny stock, including

 engaging in activities with a broker, dealer, or issuer for purposes of issuing, trading, or

 inducing or attempting to induce the purchase or sale of any penny stock. A penny stock

 is any equity security that has a price of less than five dollars, except as provided in Rule

 3a51-1 under the Exchange Act [17 C.F.R. 240.3a51-1].

                         IV.    INCORPORATION OF CONSENT

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

 incorporated herein with the same force and effect as if fully set forth herein, and that

 Defendant shall comply with all of the undertakings and agreements set forth therein.




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                    V.     BANKRUPTCY NONDISCHARGEABILITY

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for

 purposes of exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11

 U.S.C. §523, the allegations in the complaint are true and admitted by Defendant, and

 further, any debt for disgorgement, prejudgment interest, civil penalty or other amounts

 due by Defendant under this Final Judgment or any other judgment, order, consent order,

 decree or settlement agreement entered in connection with this proceeding, is a debt for

 the violation by Defendant of the federal securities laws or any regulation or order issued

 under such laws, as set forth in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C.

 §523(a)(19).

                         VI.      RETENTION OF JURISDICTION

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall

 retain jurisdiction of this matter for the purposes of enforcing the terms of this Final

 Judgment.

                           VII.    RULE 54(b) CERTIFICATION

        There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules

 of Civil Procedure, the Clerk is ordered to enter this Final Judgment forthwith and without

 further notice.

        DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 13th day of

 September 2022.




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 Copies Furnished Counsel via CM/ECF




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